                          Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 1 of 44


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Curitec, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  24 Waterway Ave STE 755
                                  The Woodlands, TX 77380
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Montgomery                                                    Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://curitec.com/


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
                          Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 2 of 44
Debtor    Curitec, LLC                                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                4239

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check
     the first sub-box. A debtor as
                                        Chapter 11. Check all that apply:
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                Case number
                                                 District                               When                                Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                            Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 3 of 44
Debtor    Curitec, LLC                                                                                  Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                                25,001-50,000
    creditors                           50-99                                          5001-10,000                                50,001-100,000
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                        Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 4 of 44
Debtor   Curitec, LLC                                                                Case number (if known)
         Name

                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
                         Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 5 of 44
Debtor    Curitec, LLC                                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 3, 2023
                                                  MM / DD / YYYY


                             X /s/ Nicholas Percival                                                      Nicholas Percival
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager and Chief Operating Officer




18. Signature of attorney    X /s/ Casey Doherty                                                           Date March 3, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Casey Doherty
                                 Printed name

                                 Dentons
                                 Firm name

                                 1221 McKinney Street
                                 Suite 1900
                                 Houston, TX 77010
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     1-713-658-4643                Email address      Casey.Doherty@dentons.com

                                 24078431 TX
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                       Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 6 of 44




Fill in this information to identify the case:

Debtor name         Curitec, LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       March 3, 2023                   X /s/ Nicholas Percival
                                                           Signature of individual signing on behalf of debtor

                                                            Nicholas Percival
                                                            Printed name

                                                            Manager and Chief Operating Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                         Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 7 of 44


Fill in this information to identify the case:
Debtor name Curitec, LLC
United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS                                                                      Check if this is an

Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Ability Network, Inc.                     Insurance                                                                                                                 $924.11
PO Box 856015         accounts.receivabl Verification
Minneapolis, MN       e@abilitynetwork.c
55485                 om
                      1-612-460-4311
American Express      Candace Unruh       Trade Debt                                                                                                          $355,753.00
200 Vesey Street
New York, NY 10285 candace.unruh@ae
                      xp.com
                      832-698-4555
Century               Ami Armstrong       Trade Debt                                                                                                            $43,800.00
Rehabilitation of
Texas LLC             ami.armstrong@ce
4703 Bluebonnet       nturyrehab.com
Blvd.                 225-229-5027
Baton Rouge, LA
70809
Definitive            Jake Christman      Trade Debt                                                                                                          $106,067.00
Healthcare
492 Old Connecticut jchristman@definiti
Path, Suite 401       vehc.com
Framingham, MA        714-745-2843
01701
Eide Bailly LLP       Jeff Hipshman       Trade Debt                                                                                                              $5,000.00
4310 17th Ave. S.
Fargo, ND             jhipshman@eideba
58108-2545            illy.com
                      714-745-2843
Enterprise Fleet      Johanna Cifuentes Trade Debt                                                                                                                  $500.00
Management
PO Box 800089         johanna.a.cifuentes
Kansas City, MO       @efleets.com
64180                 657-221-4257
Humana                                    Trade Debt                                                                                                            $21,927.03
PO Box 931655
Atlanta, GA           800-438-7885
31193-1655


Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                          Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 8 of 44



Debtor     Curitec, LLC                                                                             Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Idaho State Tax                                     Trade Debt                                                                                                        $20.74
Commission                taxrep@tax.idaho.g
11321 W. Chinden          ov
Blvd                      800-972-7660
Garden City, ID
83714
Integranet Health                                   Trade Debt                                                                                                      $334.66
2900 N. Loop W. Ste
700                       281-447-6800
Houston, TX 77092
Medline                   Tina Franco               Trade Debt                                                                                                  $40,677.75
Department 1080 PO
Box 121080                tfranco@medline.c
Dallas, TX 75312          om
                          847-643-3110
Nethealth                 Alice Ginsberg            Trade Debt                                                                                                  $10,000.00
40 24th Street, 1st
Floor
Pittsburgh, PA            alicia.merriman@n
15222                     ethealth.com
                          315-395-3751
Pure Speed                Sara Eriksen              Trade Debt                                                                                                      $278.00
Lightwave Inc.
PO Box 650823             seriksen@pslightw
Dallas, TX                ave.com
75265-0823                832-917-5563
RGH Enterprises           Pranav Kumar      Trade debt                                                                                                      $1,100,000.00
d/b/a Cardinal
Health at-Home            pranav.kumar@car
1810 Summit               dinalhealth.com
Commerce Park             330-963-7208
Twinsburg, OH
44087
RGH Enterprises           Pranav Kumar              Trade Debt                                                                                                $700,000.00
d/b/a Cardinal
Health at-Home            pranav.kumar@car
1810 Summit               dinalhealth.com
Commerce Park             330-963-7208
Twinsburg, OH
44087
RSG Specialty             Roxanne Baugh             Trade Debt                                                                                                    $9,200.00
1100 Walnut St. Ste
3200                      specialtylegal@gai
Kansas City, MO           g.com
64106                     800-847-4357
Salesforce                Tasha Benjamin            Trade Debt                                                                                                    $9,817.92
415 Mission St 3rd
Floor                     tbenjamin@salesfo
San Francisco, CA         rce.com
94105                     647-480-9738




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                          Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 9 of 44



Debtor     Curitec, LLC                                                                             Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Taylor Graphics           Dean Taylor               Trade Debt                                                                                                  $10,000.00
1582 Browning
Irvine, CA 92606
                          dean@taylor-graph
                          ics.com
                          949-205-5001
United Wound              Randall Holley    Trade Debt                                                                                                              $450.00
Healing
PO Box 24081
Seattle, WA 98124         randallholley@unit
                          edwoundhealing.c
                          om
UnitedHealthcare          Matthew Lehman            Trade Debt                                                                                                    $8,804.02
PO Box 101760
Atlanta, GA
30392-1760                800-727-6735
Wex                                                 Trade Debt                                                                                                  $18,777.59
PO Box 4337               fleet.services@wex
Carol Stream, IL          inc.com
60197                     888-774-4939




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
                  Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 10 of 44




                                              United States Bankruptcy Court
                                                     Southern District of Texas
 In re   Curitec, LLC                                                                          Case No.
                                                                   Debtor(s)                   Chapter     11




                                  VERIFICATION OF CREDITOR MATRIX


I, the Manager and Chief Operating Officer of the corporation named as the debtor in this case, hereby verify that the attached list of

creditors is true and correct to the best of my knowledge.




Date:    March 3, 2023                                 /s/ Nicholas Percival
                                                       Nicholas Percival/Manager and Chief Operating Officer
                                                       Signer/Title
        Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 11 of 44



x
a
M
s
A
o
t
i
d
e
r
C
{
1
k
b
}




    24 Waterway LLC
    24 Waterway Ave, STE 225
    Spring, TX 77380




    Ability Network, Inc.
    PO Box 856015
    Minneapolis, MN 55485




    Alabama Attorney General's Office
    State of Alabama
    501 Washington Avenue
    Montgomery, AL 36104



    Alabama Department of Revenue
    50 North Ripley Street
    Montgomery, AL 36132




    Alabama Medicaid
    687 N Dean Rd
    Auburn, AL 36830




    Alaska Attorney General Office
    1031 West 4th Avenue
    Suite 200
    Anchorage, AK 99501-1994



    Alfred, Jenna
    43 Stone Creek Pl
    Spring, TX 77382




    Ally Align-Align Senior Care Florida
    10900 Nuckols Road, Suite 110
    Glen Allen, VA 23060
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 12 of 44




American Choice Provider Network
2831 St. Rose Parkway, Suite 200-309
Henderson, NV 89052




American Express
200 Vesey Street
New York, NY 10285




American Health Management Services
201 Jordan Road, Suite 200
Franklin, TN 37067




Amerigroup Real Solutions
PO Box 62947
Virginia Beach, VA 23466




Archer, Wendy
7691 Burnside Loop
Pensacola, FL 32526




Arizona Attorney General Office
2005 N. Central Avenue
Phoenix, AZ 85004




Arizona Medicaid
3845 E Poinsettia Dr
Phoenix, AZ 85028




Arkansas Medicaid
PO Box 1437, Slot 5401
Little Rock, AR 72203
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 13 of 44




Arkansas Attorney General Office
323 Center Street Suite 200
Little Rock, AR 72201




Arkansas Department of Revenue
Ragland Building
190 W 7th Suite 2047
Little Rock, AR 72201



Bailey, Amber
50 Stratford Road
Concord, VA 24538




BCBS of Arizona
2480 West Las Plamaritas Drive
Phoenix, AZ 85021




BCBS of Illinois
300 E Randolph Street
Chicago, IL 60601




BCBS of Kansas City
One Pershing Square 2301 Main
Kansas City, MO 64108




BCBS of Louisana
5525 Reitz Avenue
Baton Rouge, LA 70809




BCBS of North Carolina
4615 University Drive
Durham, NC 27702
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 14 of 44




BCBS of Texas
1001 E. Lookout Drive
Richardson, TX 75082




Bentley, Allison
1000 Windsor Place Circle
Grayson, GA 30017




Betterment
61 West 23rd Street Fourth Floor
New York, NY 10010




Big Tin Can
260 Charles Street – Suite 101
Waltham, MA 02453




Black Forest




Blevins, Janaya
10 Rosemont Dr
Little Rock, AR 72204




Bone, Danielle
6576 landover blvd
Spring Hill, FL 34608




Bordovsky, Kim
906 Gazania Hill
San Antonio, TX 78260
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 15 of 44




Brand New Day a/b/a of Universal Care
5455 Garden Grove Blvd, Suite 500
Westminster, CA 92683




Brasfield, Tammi
2315 Chalybe Trail
Birmingham, AL 35226




Braunstein, Michael
4287 Palo Verde Drive
Boynton Beach, FL 33436




Bright Healthcare
219 North 2nd Street
Minneapolis, MN 55401




Brightpath
19 E. Bannock
Boise, ID 83712




Bruno, Amanda
1721 McGarity Rd.
Temple, GA 30179




Bryson, Peter
2111 N Ross St
Santa Ana, CA 92706




Burrow, Jamie
2604 Manchester Dr
Prince George, VA 23875
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 16 of 44




Butler, Cathy
90 Grey Fox Run
Chagrin Falls, OH 44022




California Medicaid
PO Box 989009
West Sacramento, CA 95798




California Attorney General Office
PO Box 944255
Sacramento, CA 94244-2550




California Department of Revenue
PO Box 942879
Sacramento, CA 94279




Cardinal Health
1810 Summit Commerce Park
Twinsburg, OH 44087




Care Source
30 N. Main Street
Dayton, OH 45402




Cassidy, Amanda
123 Towering Pines Dr
Spring, TX 77381




Center for Medicare & Medicade Services
7500 Security Blvd
Windsor Mill, MD 21244
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 17 of 44




Century Rehabilitation of Texas LLC
4703 Bluebonnet Blvd.
Baton Rouge, LA 70809




Chapman, Cami
3640 n 950 w
Ogden, UT 84414




City National Bank
Attn: Kelly Coffey, CEO
525 South Flower Street
Los Angeles, CA 90071



Clauser, Danielle
12413 Cambron Trl
Spanish Fort, AL 36527




Clear Spring Health Plan
25 South Northwest Hwy, Suite 302
Park Ridge, IL 60068




Coastal Care Services
1200 NW 78th Ave, Suite 100
Miami, FL 33126




Collison, Candace
185 Charlotte Court
Winston Salem, NC 27103




Connecticut Attorney General Office
165 Capitol Avenue
Hartford, CT 06106
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 18 of 44




Corzine, Kate
9 Forest Drive
Boston, MA 02122-8000




Cox, Teresa
3733 W Morning Mist Dr
Fayetteville, AR 72704




Crandall, Kristin
145 Cranwood Dr
Buffalo, NY 14224




Davis, Donald
2821 NW 110 TER
Fort Lauderdale, FL 33322




Definitive Healthcare
492 Old Connecticut Path, Suite 401
Framingham, MA 01701




DeLance, Devyn
11708 Big Holly Ln
Conroe, TX 77385




Delaware Attorney General Office
Carvel State Building
820 N. French Street
Wilmington, DE 19801



Diaz, Adrian
1105 Leland Drive
Matthews, NC 28104
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 19 of 44




Dinich, Denise
216 Countryside Lane
Mount Laurel, NJ 08054




Downing, Maureen
1535 S Cedar St
Ottawa, KS 66067




EFleets Car




Eide Bailly LLP
4310 17th Ave. S.
Fargo, ND 58108-2545




Elmore, April
16347 Many Trees Lane
Conroe, TX 77302




Enterprise Fleet Management
PO Box 800089
Kansas City, MO 64180




Espinoza, Vicky
3102 cypress drive
Donna, TX 78537




Expensify
88 Kearny St
San Francisco, CA 94108
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 20 of 44




FedEx
942 South Shady Grove Road
Memphis, TN 38120




Fernandez, Samantha
2406 Carriage Lamp Lane
Conroe, TX 77384




Florida Medicaid
210 N Palmetto Ave
Daytona Beach, FL 32114




Florida Attorney General Office
State of Florida
PL-01 The Capitol
Tallahassee, FL 32399-1050



Flowers, Kenzi
1102 Northchase Ct
Conroe, TX 77301




Fornal, Joe
20 State St.
North Haven, CT 06473




Forrey, Kristin
4724 Highway 72
New Plymouth, ID 83655




Gaines, Tammy
1127 county road 120
Blue Springs, MS 38828
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 21 of 44




Galli, Melinda
76 Lackawanna Ave
Kingston, PA 18704




Garcia, Jessica
11201 Boudreaux Rd
Apt 911
Tomball, TX 77375



Gares, Jack
681 W Racine Loop
Casa Grande, AZ 85122




Gentry, Connie
469 Grand Steeple Drive
Collierville, TN 38017




Georgia Attorney General Office
40 Capitol Square SW
Atlanta, GA 30334




Georgia Department of Revenue
1800 Century Center Blvd
Atlanta, GA 30345-3205




Gerlach, Mark
4861 E Q st
Tacoma, WA 98404




Goldsmith, Mirzeta
550 Taylor Street
Anoka, MN 55303
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 22 of 44




Gonzalez, Jessica
5261 sw 163 ct
Miami, FL 33185




Grandas, Bobby
30 N Longspur Dr.
Spring, TX 77380




Griggs, Paula
681 county road 190
Houston, MS 38851




Hammontree, Bill
6034 Vincents Landing Drive
Hixson, TN 37343




Hanaway, Jaclyn
559 Wind Energy Pass
Batavia, IL 60510




Hansen, Christy
6426 Jerry Lynn Ln
Pensacola, FL 32526




Harmon, Brian
228 Clementine Ct
Montgomery, TX 77316




Hawaii Medicaid
601 Kamokila Blvd
Kapolei, HI 96707
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 23 of 44




Hawaii Medical Service Association
PO Box 860
Honolulu, HI 96808




Healthsmart
222 W Las Colinas Blvd, Suite 500 N
Irving, TX 75039




Hexter, Monica
3237 Memorial Blvd
Apt 10-304
Murfreesboro, TN 37129



Hobelamn, Hollie
828 Auburn Court
Fort Worth, TX 76104




Hopkins, Mark
900 Saint Louis Ave
apt 3101
Fort Worth, TX 76104



Horn, Kelsey
38 Colony Sq
Angleton, TX 77515




Hubspot
Attn: Katrina Jacobs
5665 147th St. N.
Henriette, MN 55036



Humana
PO Box 931655
Atlanta, GA 31193-1655
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 24 of 44




Idaho Attorney General
700 W. Jefferson Street
PO Box 83720
Boise, ID 83720-0010



Idaho State Tax Commission
11321 W. Chinden Blvd
Garden City, ID 83714




Illinois Attorney General Office
Chicago Office
100 Wst Randolph Street
Chicago, IL 60601



Indiana Attorney General Office
302 W. Washington Street 5th Floor
Indianapolis, IN 46204




Integra Partners
3221 W. Big Beaver Road, Suite 211
New Haven, MI 48048




Integranet Health
2900 N. Loop W. Ste 700
Houston, TX 77092




Iowa Attorney General Office
Hooever State of Office Building
1305 E. Walnut Street
Des Moines, IA 50319



Jackson, Meagan
1220 W 6th St
Apt 606
Cleveland, OH 44113
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 25 of 44




Johns, Joy
18202 Floralton Dr
Spring Hill, FL 34610




Jones, Tandy
2625 Harmony Park Xing #131
Spring, TX 77386




Justiniano, Ruby
2678 Howland Blvd
Deltona, FL 32738




Justworks
55 Water St Floor 29,
New York, NY 10041




Kansas Attorney General Office
120 SW 10th Avenue 2nd Floor
Topeka, KS 66612




Kentucky Medicaid
275 E Main St
Frankfort, KY 40601




Kentucky General Attorney Office
7000 Capital Avenue Suite 118
Frankfort, KY 40601




Lamb, Katy
224 Bonnie Brae
Hinsdale, IL 60521
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 26 of 44




Lambert, Bonnie
10415 N Strahorn RD
Hayden, ID 83835




Leibowitz, Scott
520 Oldwoods Rd
Wyckoff, NJ 07481




Lewczuk, Paulina
5840 42nd Ave N
Saint Petersburg, FL 33709




Lindsay, Christine
1225 Lawrence Road #718
Kemah, TX 77565




Long-Coker, Deedra
PO Box 71
Wortham, TX 76693




Louisana Attorney General Office
1885 N 3rd Street
Baton Rouge, LA 70802




Louisana Department of Revenue
617 North Third Street
PO Box 201
Baton Rouge, LA 70821



Louisiana Medicaid
2521 Wooddale Blvd
Baton Rouge, LA 70805
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 27 of 44




Martin, Alex
220 Granada Ave
Apt. 9
Long Beach, CA 90803



Martin, Gabby
2108 TUNNEL MILL RD
Charlestown, IN 47111




Mary Jane Percival
223 Arabian Drive
Spring, TX 77382




Maryland Attorney General Office
200 St. Paul Place
Baltimore, MD 21202




Massachusetts Attorney General Office
1 Ashburton Place
20th Floor
Boston, MA 02108



Matthews, Melissa
15403 Ripplestream St
Houston, TX 77068




McGrew, Amy
704 Alamo Rd
Fredericksburg, TX 78624




McNally, Nancy
7618 CHEROKEE SPRINGS WAY
Knoxville, TN 37919
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 28 of 44




Medical Cost Containment Professionals
406 9th Avenue Suite 202
San Diego, CA 92101




Medicare
7210 Ambassador Rd
Windsor Mill, MD 21244




Medigold
6150 E. Broad St. EE320
Columbus, OH 43213




Medina, Christine
17757 Arminta Street
Reseda, CA 91335




Medline
Department 1080 PO Box 121080
Dallas, TX 75312




Medline
Three Lakes Drive
Winnetka, IL 60093




Medline Industries LP
Three Lakes Drive
Winnetka, IL 60093




Michigan Medicaid
22 Center St
Ypsilanti, MI 48198
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 29 of 44




Michigan Attorney General Office
525 W. Ottawa Street
Lansing, MI 48906




Microsoft




Miller, Catherine
3790 Metasville Road
Washington, GA 30673




Mississippi Medicaid
550 High St, Ste 1000
Jackson, MS 39201




Mississippi Attorney General Office
PO Box 220
Jackson, MS 39205




Mississippi Department of Revenue
PO Box 1033
Jackson, MS 39215-1033




Missouri Attorney General Office
2311 Bloomfield Street Suite 106
Cape Girardeau, MO 63703




Missouri Department of Revenue
Harry S. Truman State Office Building
301 West High Street
Jefferson City, MO 65101
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 30 of 44




Mize, Katy
10106 Rosebery Drive
La Porte, TX 77571




Molina Healthcare of Texas
5605 N. MacArthur Blvd. Suite 400
Irving, TX 75038




Montana Attorney General Office
215 N. Sanders St
Helena, MT 59601




Monteleon, Yvette
111 Soho Circle
Lafayette, LA 70508




Moore, Heather
115 Waterside Drive
Beaver Falls, PA 15010




Murphy, Jason
7980 Marsha Woods Drive
Memphis, TN 38125




Neal, Shelley
5511 Claymore Meadow Ln
Spring, TX 77389




Nebraska Medicaid
2525 N 117th Ave Ste 100
Omaha, NE 68164
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 31 of 44




Nethealth
40 24th Street, 1st Floor
Pittsburgh, PA 15222




Nevada Office of Attorney General
100 N. Carson Street
Carson City, NV 89701




New Mexico Attorney General Office
408 Galisteo Street
Villagra Building
Santa Fe, NM 87501



New Mexico Medicaid
9400 Holly Ave NE
Albuquerque, NM 87122




New York Attorney General Office
The Capitol
Albany, NY 12224-0341




New York Medicaid
215 Bay St Ste 1
Staten Island, NY 10301




Ngindi, Melissa
23882 Dorrington Estates Lane
Conroe, TX 77385




North Carolina Attorney General Office
114 West Edenton Street
Raleigh, NC 27603
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 32 of 44




Ohio Attorney General Office
PO Box 365
London, OH 43140




Ohio Medicaid
50 W Town St, Ste 400
Columbus, OH 43215




Oklahoma Attorney General Office
313 NE 21st Street
Oklahoma City, OK 73105




Oklahoma Department of Revenue
2501 North Lincoln Boulevard
Oklahoma City, OK 73194




Oklahoma Medicaid
4345 N Lincoln Blvd,
Oklahoma City, OK 73105




Oregon Attorney General Office
1162 Court Street NE
Salem, OR 97301-4096




Oregon Medicaid
500 Summer St NE
Salem, OR 97301




Orlando, Brittany
217 S Jefferson Ave
Canonsburg, PA 15317
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 33 of 44




Pancake, Cynthia
311 S 9th Street
47567




Parker, Nicole
330 Lazy Bar S Rd
Somerville, TX 77879




Patterson, Cataria
2716 South Collins St
Apt 712
Arlington, TX 76014



Pennsylvania Attorney General Office
Strawberry Square
Harrisburg, PA 17120




Percival, Jane
223 Arabian Drive
Spring, TX 77382




Percival, Maria
75 Northgate Dr
Spring, TX 77380




Percival, Nick
75 Northgate Dr
Spring, TX 77380




Prime Health Services
331 Mallrory Station Road
Franklin, TN 37067
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 34 of 44




Provider Network of America
1600 West Broadway Road, Suite 300
Tempe, AZ 85282




Pure Speed Lightwave Inc.
PO Box 650823
Dallas, TX 75265-0823




Qlarant Integrity Solutions LLC
14643 Dallas Parkway Suite 400
Dallas, TX 75254-1613




Relias




RGH Enterprises
d/b/a Cardinal Health at-Home
1810 Summit Commerce Park
Twinsburg, OH 44087



Robnett, Abby
3802 County Street 2780
Ninnekah, OK 73067




Rodman, Jill
415 Manchester Pl
Bristol, TN 37620




Rodriguez, Carlos
1280 west 46th street
apt 903
Hialeah, FL 33012
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 35 of 44




Rodriguez, David
14030 FM 1560 N
Apt 11305
Helotes, TX 78023



Rohr-Press, Stefanie
12833 Walnut Hill Dr.
Lakeville, IN 46536




Roth, Michal
10216 Regal Drive unit 309
Largo, FL 33774




RSG Specialty
1100 Walnut St. Ste 3200
Kansas City, MO 64106




Salesforce
415 Mission St 3rd Floor
San Francisco, CA 94105




Sampson, Vivian
545 Hinman Ave k2
Evanston, IL 60202




San Pedro, Daniel
319 Blue Lake Circle
Kissimmee, FL 34758




Schexnayder, Raven
9109 East Old Spanish Trail
Jeanerette, LA 70544
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 36 of 44




Schwab, jordan
27900 SE Bartlemay Rd
Eagle Creek, OR 97022




Scott & White Health Plan
1206 West Campus Drive
Temple, TX 76502




Senior Select Partners
420 North Twentieth Street, Suite 3400
Birmingham, AL 35203




Serame, Chaz
33103 134th Ave SE
Auburn, WA 98092




Sheakley UniComp
30 West Spring St. L20
Columbus, OH 43215




Simpra Advantage
3008 7th Ave S
Birmingham, AL 35233




Smith, Ciara
656 Links View Court
Grand Prairie, TX 75052




Smith, Lainey
504 Timber Voyage Court
Montgomery, TX 77316
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 37 of 44




Smith, Lindsay
9939 Wethers Field Circle
Aubrey, TX 76227




South Carolina Attorney General Office
PO Box 11549
Columbia, SC 29211




South Carolina Medicaid
200 S Mountain St
Union, SC 29379




South Dakota Medicaid
600 E Capital Ave
Pierre, SD 57501




Southern District of TX US Attorney
Alamdar Hamdani, Esq.,
1000 Louisiana STE 2300
Houston, TX 77002



Sowada, Shelly
11413 HARVEST ROAD
Little Falls, MN 56345




SR Fax
201-5190 Dublin Way Nanaimo
BC, Canada V9T 0H2
Toronto, ON



Stevens, Tamis
2188 Richerson Rd
Denison, TX 75021
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 38 of 44




Sunshine Health
1700 N University Drive
Plantation, FL 33322




Survey Monkey
One Curiosity Way
San Mateo, CA 94403




Swain, Jenny
233 Terrace Bluff Lane
Aledo, TX 76008




Sweikhart, Ashley
9510 Ashwood Dr
Mobile, AL 36695




Tate, Terry
31357 Pine Run Drive
Orange Beach, AL 36561




Taylor Graphics
1582 Browning
Irvine, CA 92606




Tennessee Attorney General Office
PO Box 20207
Nashville, TN 37202-0207




Tennessee Department of Revenue
Andrew Jackson Building
500 Deaderick Street
Nashville, TN 37242
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 39 of 44




Tennessee Medicaid
310 Great Circle Rd
Nashville, TN 37243




Texas Attorney General Office
PO Box 12548
Austin, TX 78711-2548




Texas Department of Revenue
Lyndon B. Johnson State Office Building
111 East 17th Street
Austin, TX 78774



Texas Medicaid
12365a Riata Trace Parkway
Austin, TX 78727




The Insurance Company




Thomas, Stacey
2224 Silver Palm Drive
Edgewater, FL 32141




Three Rivers Provider Network
6970 O Bannon Drive
Las Vegas, NV 89117




Thuma, Kelly
1710 Briarwood Terrace
Springfield, OH 45504
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 40 of 44




Titman, Jessica
4718 Heathers Cross
Saint Hedwig, TX 78152




Tomarelli, Lisa
524 Sarabay Rd
Osprey, FL 34229




Tribute Health Plans
One Riverfront Place, Suite 615
North Little Rock, AR 72114




TriCare East-Humana Military
305 N Hurstbourne Parkway-2B
Louisville, KY 40222




Trotman, Jeff
2701 Colleen Street NE
Rochester, MN 55906




Ultimate Health Plans
1244 Mariner Boulevard
Spring Hill, FL 34609




United Wound Healing
PO Box 24081
Seattle, WA 98124




UnitedHealthcare
PO Box 101760
Atlanta, GA 30392-1760
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 41 of 44




US Department of Justice
950 Pennsylvania Avenue
Washington, DC 20530




US Health and Human Services
200 Independence Avenue S.W.
Washington, DC 20201




USA Manage Care Organization
4609 Bee Caves Road, Suite 200
Austin, TX 78746




Utah Attorney General Office
350 North State Street, Suite 230
Salt Lake City, UT 84114-2320




Valentin, Marisol
20 Eaves Mill Rd
Medford, NJ 08055




VanGelder, Rachel
1410 West Parkwood Court
Spokane, WA 99218




Vaughn, Misty
133 Circle Slope Dr
Simpsonville, SC 29681




Virginia Attorney General Office
109 State Street
Montpelier, VT 05609
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 42 of 44




Virginia Medicaid
600 E Broad St
Richmond, VA 23219




Voelker, Roxanne
6701 SW WHITMARSH ROAD
Bentonville, AR 72713




Warren, Todd
397 University Ave
Apt 1
Rochester, NY 14607



Washington Attorney General Office
1125 Washington St SE
PO Box 40100
Olympia, WA 98504



Washington Medicaid
1313 W Meeker St, Ste 100
Kent, WA 98032




Washington Medline Industries Holdings
Three Lakes Drive
Winnetka, IL 60093




Watson, Amy
5700 Tully Court
Raleigh, NC 27609




Wellmark
1601 West Madison Street
Sioux Falls, SD 57104
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 43 of 44




Weppler, Stephanie
2004 N 12th St
Coeur D Alene, ID 83814




Western Sky Community Care Inc
5300 Homestead Rd NE
Albuquerque, NM 87110




Wex
PO Box 4337
Carol Stream, IL 60197




Whitty, Christina
514 Marsha Ave
Mendenhall, MS 39114




Wieland, Mike
94 Heathermere Dr
Galena, OH 43021




Williams, Kaylena
1303 Gears Rd
APT 1319
Houston, TX 77067



Wisconsin Attorney General Office
PO Box 7857
Madison, WI 53707-7857




Wisconsin Medicaid
1 W Wilson St, Ste 350
Madison, WI 53703
    Case 23-90108 Document 1 Filed in TXSB on 03/03/23 Page 44 of 44




Zelis
Two Concourse Parkway, Suite 300
Atlanta, GA 30328




Zimmermann, Randall
111 South Park
Hohenwald, TN 38462




Zoom
55 Almaden Blvd
San Jose, CA 95113
